
CUTRER, Judge.
For the reasons assigned in the case of Cromwell v. Commerce &amp; Energy Bank of Lafayette, et al., 450 So.2d 1 (La.App. 3rd Cir.1984), the judgment of the trial court, granting the preliminary injunction, is reversed and set aside. The suit1 is hereby remanded for the limited purpose of considering appellants’ request for damages and attorney's fees according to the provisions of LSA-C.C.P. 3608.
Plaintiffs-appellees are to pay costs of the trial court and for this appeal.
REVERSED AND REMANDED IN PART.
PER CURIAM.
For the reasons set forth in the per cu-riam filed in the case of Cromwell v. Commerce &amp; Energy Bank of Lafayette, et al., 450 So.2d 1 (La.App. 3rd Cir.1984), the appeal of Combined Investments, Ltd., inter-venor, is recognized. That portion of our judgment remanding the suit for the limited purpose of considering appellants’ request for damages and attorney’s fees, according to LSA-C.C.P. art. 3608, is hereby amended to include a consideration of the request of Combined Investments, Ltd., for damages and attorney’s fees.
In all other respects the judgment rendered by this court is to remain unchanged.
APPLICATION GRANTED AND JUDGMENT AMENDED.

. The plaintiffs in this case are as follow: Bennett Boyd Anderson, Jr.; Shirley S. Covington, M.D.; Richard E. D'Aquin; John M. Howard; Jewil Parkerson Lowe; Robert D. Lowe; William E. McCray, M.D.; James Parkerson Roy; Rodney L. Savoy; William F. Stevenson, Jr., and N.J. Yentzen, Jr.
The defendants in this case are as follow: American Bank &amp; Trust Company of Lafayette; Commercial Bank &amp; Trust Company of Franklin; First National Bank of Lafayette; Hub City Bank &amp; Trust Company and Southwest National Bank of Lafayette, La.

